                                          Case 3:17-cv-01741-AJB-JLB Document 23 Filed 02/21/18 PageID.132 Page 1 of 3


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                                     12
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                                           Attorneys for Plaintiffs,
                                     13
                                     14                          UNITED STATES DISTRICT COURT
                                                               SOUTHERN DISTRICT OF CALIFORNIA
                                     15
                                           JANE HUDSON, CHARISSA                       Case No.: 3:17-CV-1741-AJB-JLB
                                     16 LEWIS, WILLIAM PEREZ, JR.,
                                     17 RUSSELL SMITH, AND                             NOTICE OF SETTLEMENT
                                           CHRISTINA WISEMAN,
                                     18 INDIVIDUALLY AND ON                            HON. JILL L. BURKHARDT
                                     19 BEHALF OF ALL OTHERS
                                           SIMILARLY SITUATED,
                                     20
                                     21
                                                          Plaintiff,
                                     22
                                     23                      v.
                                     24 EXPERIAN INFORMATION
                                     25 SOLUTIONS, INC.,
                                     26                   Defendant.
                                     27
                                     28
                                            Case No.: 3:17-CV-1741-AJB-JLB                                 Hudson et al v. Experian
                                                                             NOTICE OF SETTLEMENT
                                          Case 3:17-cv-01741-AJB-JLB Document 23 Filed 02/21/18 PageID.133 Page 2 of 3



                                      1           NOTICE IS HEREBY GIVEN that the dispute between Plaintiffs JANE

                                      2 HUDSON, CHARISSA LEWIS, WILLIAM PEREZ, JR., RUSSELL SMITH,
                                      3 AND        CHRISTINA WISEMAN (“Plaintiffs”) and Defendant EXPERIAN

                                      4 INFORMATION SOLUTIONS, INC. (“Experian”) has been resolved in its
                                      5 entirety. The Parties anticipate filing a Joint Motion for Dismissal without
                                      6 Prejudice within 60 days. Plaintiffs request that all pending dates and filing
                                      7 requirements with regard to Experian be vacated and that the Court set a deadline
                                      8 on or after April 20, 2018, for filing a Joint Dismissal.

                                      9
                                           Dated: February 21, 2018                                   Respectfully submitted,
                                     10
                                     11                                                         KAZEROUNI LAW GROUP, APC
                                     12
                                                                                          By:        /s/ Matthew M. Loker___
1303 EAST GRAND A VENUE, SUITE 101




                                                                                                    MATTHEW M. LOKER, ESQ.
 KAZEROUNI LAW GROUP, APC




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    ARROYO GRANDE, CA 93420




                                                                                                    ATTORNEY FOR PLAINTIFFS
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                                           Case No.: 3:17-CV-1741-AJB-JLB            1 of 1               Hudson, et al. v. Experian
                                                                            NOTICE OF SETTLEMENT
                                          Case 3:17-cv-01741-AJB-JLB Document 23 Filed 02/21/18 PageID.134 Page 3 of 3


                                                                                PROOF OF SERVICE
                                      1
                                        I am a resident of the State of California, over the age of eighteen years, and not a party to the
                                      2 within action. My business address is KAZEROUNI LAW GROUP, located at 1303 East Grand
                                        Avenue, Suite 101, Arroyo Grande, CA 93420. On February 21, 2018, I served the herein
                                      3
                                        described document(s):
                                      4
                                               NOTICE OF SETTLEMENT RE: THE DUNNIGNG LAW FIRM ONLY
                                      5
                                      6          £        FACSIMILE - by transmitting via facsimile the document(s) listed above to the
                                                          fax number(s) set forth on the attached Telecommunications Cover Page(s) on
                                      7                   this date before 5:00 p.m.
                                      8          £        MAIL - by placing the document(s) listed above in a sealed envelope with
                                                          postage thereon fully prepaid, in the United States mail at Arroyo Grande,
                                      9                   California addressed as set forth below.

                                     10          £        PERSONAL SERVICE - by personally delivering the document(s) listed above
                                                          to the person(s) at the address(es) set forth below.
                                     11          £        OVERNIGHT COURIER - by placing the document(s) listed above in a sealed
                                     12                   envelope with shipping prepaid, and depositing in a collection box for next day
                                                          delivery to the person(s) at the address(es) set forth below via.
                                     13
1303 EAST GRAND A VENUE, SUITE 101
 KAZEROUNI LAW GROUP, APC




                                                 S        CM/ECF - by transmitting electronically the document(s) listed above to the
    ARROYO GRANDE, CA 93420




                                     14                   electronic case filing system on this date before 11:59 p.m. The Court’s
                                                          CM/ECF system sends an e-mail notification of the filing to the parties and
                                     15                   counsel of record who are registered with the Court’s CM/ECF system.
                                     16           John A. Vogt (198677)                               Ann T. Rossum (281236)
                                                  JONES DAY                                           JONES DAY
                                     17           3161 Michelson Drive, Suite 800                     3161 Michelson Drive, Suite 800
                                                  Irvine, CA 92612                                    Irvine, CA 92612
                                     18
                                                  e-mail: javogt@jonesday.com                         e-mail: atrossum@jonesday.com
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                                     21
                                              I am readily familiar with the firm's practice of collection and processing correspondence
                                     22 for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                                        day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                                     23
                                        motion of the party served, service is presumed invalid if postal cancellation date or postage
                                     24 meter date is more than one day after date of deposit for mailing in affidavit.
                                     25             I declare under penalty of perjury under the laws of the State of California that the above
                                           is true and correct. Executed on February 21, 2018, at Arroyo Grande, California.
                                     26
                                     27                                                                            /s/ Matthew M. Loker
                                                                                                                        MATTHEW M. LOKER
                                     28

                                            Case No.: 3:17-CV-1741-AJB-JLB                                             Hudson et al v. Experian
                                                                                  PROOF OF SERVICE
